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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION


 STEVES AND SONS, INC.,                             )
                                                    )
                         Plaintiff,                 )
                                                    )
        v.                                          )       Civil Action No. 3:20-CV-00098-REP
                                                    )
 JELD-WEN, INC.,                                    )
                                                    )
                         Defendant.                 )
                                                    )


                              NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Steves and Sons, Inc.

(“Steves”) and Defendant JELD-WEN, Inc. (“JELD-WEN”) hereby stipulate that, the parties

having executed a Confidential Settlement Agreement and Mutual Release (the “Settlement

Agreement”), this action is dismissed, with prejudice, and the April 30, 2020 Amended Order of

Preliminary Injunction is dissolved. Each side shall bear its own attorneys’ fees, expert fees, and

costs. Steves and JELD-WEN further agree that this Court shall retain jurisdiction to enforce

compliance with the Settlement Agreement.

       It is so stipulated.

       Dated: June 8, 2020




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